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                                                                                        Clear Form
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8                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF CALIFORNIA                                 Jc
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                                     f--eA,,, i--\, e.-ol y
                                           Plaintiff,
                                                              �CV2 2
                                                              ) CASE NO. _________
                                                                                  0901
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12               vs.                                          ) APPLICATION TO PROCEED
                                                              ) IN FORMA PAUPERIS
                                                                     .
13                                                            ) (Non-prisoner cases only)
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          {_ i   \--y   O (l    � 5cN\; \-o                   )
14                   Defendant.                               )
15
     ______________                                           )

16     I, L.,, .;i:S �-.,teclare, under penalty of perjury that I am the plaintiff
17   in the above entitled case and that the information I offer throughout this application is true and
18   correct. I offer this application in support of my request to proceed without being required to
19   prepay the full amount of fees, costs or give security. I state that because of my poverty I am
20   unable to pay the costs of this action or give security, and that I believe that I am entitled to relief.

21               In support of this application, I provide the following information:
22   1.          Are you presently employed?                             Yes __ No �
23   If your answer is "yes," state both your gross and net salary or wages per month, and give the

24   name and address of your employer:

25   Gross: ____________ Net: _______________
26 · Employer: ____________________________
27

28   If the answer is "no," state the date of last employment and the amount of the gross and net salary


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1                     children, list only their initials and ages. DO NOT INCLUDE THEIR NAMES.)

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4    5.      Do you own or are you buying a home?                     Yes __ No,L
5    Estimated Market Value:$______ Amount of Mortgage:$_______

6    6.      Do you own an automobile?                                Yes_)_ No __

7    Make   Lf1 e v �,.                 Year / q     '1C/               5• \
                                                               Model __.__.--1,.........
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                  ✓
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                                                                                0
8    Is it :financed? Yes          No      /       If so, Total due:$ __            _-<'I_· _____


9    Monthly Payment:$       ·-------
10   7.      Do you have a bank account? Yes __ No             L     (Do not include account numbers.)

11   N ame(s) and address(es) of bank: __________________
12
13   Present balance(s):$ _______________________
14   Do you own any cash? Yes                 No        Amount: $ ------------
15   Do you have any other assets? (If "yes," provide a description of each asset and its estimated

16   market value.)                                                            Yes         No
17
18   8.      What are your monthly expenses?

19   Rent:$ __ ________ Utilities:
              ()                                                ----=•:=;..._-3........,_;;.0_·0_'·_. _co____
20   Food:$       2GO ..     0   --o

                                                                    =----------
                                                        Clothing: __()
21   Charge Accounts:

22   Name of Account                       Monthly Payment                      Total Owed on This Account
23                                      $ ___________ $ _________

24                                     $                                    $ ______
25                                     $                                    $ ______
26   9.      Do you have any other debts? (List current obligations, indicating amounts and to whom
27   they are payable. Do not include account numbers.)
28


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2    10.     Does the complaint which you are seeking to file raise claims that have been presented in
3    other lawsuits?   Yes ;i.,._ No __
4    Please list the case name(s) and number(s) of the prior lawsuit(s), and the name of the court in



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     which they were filed.


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8    I declare under the penalty of perjury that the foregoing is true and correct and understand that a
9    false statement herein may result in the dismissal of my claims.
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11    2-IL/- 22_
12           DATE
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